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                           UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                   PORTLAND DIVISION

UNITED STATES OF AMERICA                            3:21-cr-    IS I   H-t

              v.                                    INDICTMENT

ALMA RAVEN-GUIDO,                                   18 U.S.C. §§ 844(i) and 2

              Defendant.
                                                    UNDER SEAL



                              THE GRAND JURY CHARGES:

                                          COUNT 1.
                                           (Arson)
                                  (18 U.S.C. §§ 844(i) and 2)

       On or about April 13, 2021, in the District of Oregon, defendant ALMA RAVEN-

GUIDO, maliciously damaged, and attempted to damage, by means of fire and an explosive, a

building and real property, namely the Portland Police Association building, located at 1868


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North Lombard Street, Portland, Oregon, and said building was used in interstate commerce and

in activity affecting interstate commerce;

       In violation of Title 18, United States Code, Sections 844(i) and 2.

Dated: May 4, 2021                                   A TRUE BILL.




                                                     OFFICIATING FOREPERSON

Presented by:

SCOTT ERIK ASPHAUG
Acting United States Attorney




JACLYN J. JEN         S, OSB #092058
Assistant United ··tates Attorney
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